UNITED STATES DlSTRICT COURT
FOR THE MIDDLE DlSTRlCT OF TENNESSEE

NASHVILLE DIVISION
UNITED STATES OF AMERICA, )
Plaintiff, j
v. j CIVIL ACTION NO.
LAO TRADING COMPANY AND j
PENG BANDITH, )
Defendants. j

C()MPLAINT F()R PERMANENT INJUNCTION

The United States of America, Plaintiff, by and through its undersigned counsel, and on
behalf of the United States Food and Drug Administration (“FDA”), respectfully represents as
follows:

1. This statutory injunction proceeding is brought under the Federal Food, Drug, and
Cosmetic Act (the “Act”), 21 U.S.C. § 332(a), to permanently enjoin the defendants, Lao
Trading Company and its owner, Peng Bandith (collectively, “Defendants”), from causing food
to become adulterated, Within the meaning of 21 U.S.C. § 342(a)(4), While such food is held for
sale after shipment in interstate commerce, in violation of 21 U.S.C. § 331(1<).

2. This Court has jurisdiction over the subject matter and all parties to this action
under 28 U.S.C. §§ 1331,1337, and 1345 and 21 U.S.C. § 332(a).

3. Venue in this district is proper under 28 U.S.C. § 1391(b) and (c).

Defendants

4. Defendant Lao Trading Company does business at 449 Atlas Drive, Nashyille,
Tennessee 37211-3307 (“Defendants’ facility”), Within the jurisdiction of this Court. Lao
Trading Company operates a food storage Warehouse at Which it receives and holds food for sale

after shipment in interstate commerce.

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5. Defendant Peng Bandith is the owner of Lao Trading Company. He performs his
duties at Defendants’ facility, where he is present on a daily basis and is responsible for all
activities at the firm including warehouse operations, building and equipment maintenance,
supervision of employees, and the maintenance of proper sanitary conditions

Defendants’ ()perations

6. Defendants have been and are currently engaged at Defendants’ facility in receipt,

storage, and distribution of articles of food, within the meaning of 21 U.S.C. § 321(f), such as .

vermicelli noodles and rice. Further, Defendants have been and are currently engaged in
receiving these articles of food from other states, including, but not limited to, California and
distributing those articles within the state of Tennessee.

Defendants’ Violative Conduct

7. Defendants violate 21 U.S.C. § 331(1<) by causing food held for sale after
shipment in interstate commerce to become adulterated within the meaning of 21 U.S.C.
§ 342(a)(4) in that such food is prepared, packed, or held under insanitary conditions whereby it
may have been contaminated with filth, or whereby it may been rendered injurious to health.

8. FDA inspected Defendants’ facility in June 2010. At that visit, FDA investigators
found overwhelming evidence of rodent, insect, and bird infestations throughout the facility.
The litany of violative conditions the investigators observed included:

A. Defendants’ failure to maintain fixtures and physical facilities to prevent

, food from becoming adulterated, evidenced by a substantial gap along the entire bottom of the

loading dock door, holes in screens of doors within the facility, holes in the ceiling of rooms and

a collapsing ceiling in one room, gaps between the wall and baseboard of two rooms, and
numerous holes in the walls of several rooms;

B. Defendants’ failure to keep the loading dock door closed during three days

of inspection;

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C. Defendants’ failure to store and transport finished food under conditions
that would protect against physical, chemical, and microbial contamination;

D. Defendants’ failure to leave open sufficient space in their warehouse to
maintain sanitary operations;

E. Defendants’ failure to remove litter and waste and cut weeds or grass
within the immediate vicinity of the building, rendering the area attractive to rodents and other
pests; and

F. Defendants’ failure to provide adequate lighting in areas where food is
examined, stored, or processed.

9. ln addition to these violative conditions, Defendants fail to maintain sanitation
control records that document monitoring and corrections of sanitation deficiencies for the
condition and cleanliness of food contact surfaces, prevention of cross contamination from
insanitary obj ects, maintenance of hand washing, hand sanitizing, and toilet facilities, protection
of food, food packaging material, and food contact surfaces from adulteration, proper labeling,
storage and use of toxic chemicals, and exclusion of pests.

10. In response to the deplorable conditions FDA found at Defendants’ facility during
the June 2010 inspection, on June 14, 2010, the state of Tennessee suspended Defendants’
business license and oversaw the destruction of adulterated articles of food stored Within the
facility and a clean-up of the rodent infestation. The state re-issued Defendants’ business license
on or about June 25, 2010, after the clean-up was completed Defendants’ however, have not
altered their policies or procedures to ensure that sanitary conditions at the facility will be

maintained

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Defendants’ Past Violative Conduct

11. FDA previously inspected Defendants’ facility in July 2001. At that inspection,
FDA investigators found evidence of past rodent activity at the facility, although they did not
find evidence of an active infestation

12. ln April 2003, FDA re-inspected Defendants’ facility. Fl)A investigators found
numerous problems with the firm’s sanitation practices, including inadequate protection against
pests; overcrowding of products; dented cans and broken bags of rice in stock; poor facility
maintenance; and, no hazard analysis and critical control points (“HACCP”) plan, see 21 C.F.R.
§ 123.6, or written sanitation monitoring procedures in place for the distribution of frozen
seafood products. At the conclusion of the inspection, the investigators issued a Form FDA 483,
Inspectional Observations, to Bandith, identifying the violative conditions. The investigators
discussed the violations with Bandith and he agreed to make some of the necessary corrections
immediately, although he requested more time to analyze the seafood HACCP requirements and
make corrections

13. In January and February 2005, FDA again inspected Defendants’ facility. In spite
of promised corrections, Defendants showed little, if any, progress in correcting the violative
conditions identified during the previous inspectionl At that time, FDA investigators found
Defendants had a continuing and active pest problem throughout their facility resulting in wide-
spread adulteration of articles of food. Subsequent laboratory analyses confirmed rodent activity
in and on bags of beans and rice held at the facility. Furthermore, investigators observed
structural defects and damage permitting rodent access throughout the warehouse. Deviations
from the seafood HACCP requirements also continued

A. In light of the active rodent infestation at Defendants’ facility, United

States l\/Iarshals, at the direction of FDA, seized all food in rodent susceptible containers in the

facility, pursuant to a Warrant of Arrest i_n Rem filed on March 2, 2005, in this Court.

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Defendants filed a claim for the seized articles, and subsequently agreed to a Consent Decree of
Condemnation and Injunction, signed by Bandith, in which they agreed, among other things, to
recondition the seized articles to FDA’s satisfaction or destroy them; thoroughly clean, renovate,
and render their facility suitable for use in handling food; eliminate from the facility all rodents
and other pests and make repairs to preclude their future entry into the facility; establish a written
sanitation control program to ensure that their facility was continuously maintained in a sanitary
condition; and assign responsibility for the operation of such program to a person competent to
maintain the facility and the equipment contained therein in a sanitary condition. The Consent
j Decree was signed and entered by United States District Judge Robert Echols on May 25, 2005.
B. Following reconditioning and destruction of the seized articles, FDA re-
inspected Defendants’ facility in November 2005 to assess the adequacy of structural repairs
made to the facility and to determine if the warehouse was suitable for the storage of food
products in a manner to prevent adulteration, as required by the Consent Decree. The FDA
investigators found that all doors appeared to be sealed to prevent rodent entry; Defendants had
repaired existing holes in walls and sealed the walls at the wall/floor juncture; Defendants had
moved all storage racks away from the walls to allow cleaning and monitoring of rodent or insect
activity; finally, Defendants had installed a new roll-up garage door at the dock entrance. The
Consent Decree was subsequently vacated
14. In August 2006, FDA again inspected Defendants’ facility. At that inspection,
less then a year after entry of the initial Consent Decree, FDA found general storage conditions
within Defendants’ facility continued to comply with applicable regulations FDA investigators
did note, however, some damaged product containers and open food product that was left open to
contamination In addition, the investigators noted that Defendants were not monitoring the
temperature of the freezer used to store seafood, and issued a Form FDA 483 citing this

violation.

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Defendants Were Warned About Their Violative Conduct

15. FDA repeatedly warned Defendants about their violative conduct. At the close of
each of inspection since April 2003, FDA investigators issued to Bandith a Form FDA 483
identifying the observed violative conditions, and discussed each of the violations with him.
Following the 2005 inspection and the subsequent seizure of adulterated articles of food,
Defendants entered into a Consent Decree of condemnation and injunction in which they
committed to maintain their facility in a sanitary condition, a commitment they promptly broke
once oversight was relaxed

16. ln light of Defendants’ lengthy history of non-compliance in the absence of strict
oversight, Plaintiff is informed and believes that, unless restrained by this Court, Defendants will
continue to violate 21 U.S.C. § 331(k) in the manner set fourth above.

WHEREFORE, Plaintiff respectfully requests that the Court:

I. Permanently and perpetually restrain and enjoin Defendants and each and all of
their officers, directors, agents, representatives employees, successors and assigns, attorneys,
and any and all persons in active concert or participation with any of them, under 21 U.S.C.
§332(a), from violating 21 U.S.C. §331(1<) by introducing or delivering, or causing to be
introduced or delivered, into interstate commerce articles of food that are adulterated within the
meaning of21 U.S.C. § 342(a)(4).

II. Order that FDA be authorized pursuant to this injunction to inspect Defendants’

place(s) of business and all records relating to the receipt, manufacture, processing, packing,

labeling, holding, and distribution of any article of food to ensure continuing compliance with j

the terms of the injunction, the costs of such inspections to be borne by Defendants at the rates

prevailing at the time the inspections are accomplished

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lll. l Order that Plaintiff is awarded costs and other such relief as the Court deems just

and proper.

DATED this 5‘*‘ day of october, 2010.

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